              Case 1:17-cr-00106-GLR Document 790 Filed 10/17/23 Page 1 of 6



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
UNITED STATES OF AMERICA                     *


v.                                           *       Crim. No. GLR-17-0106-3


DANIEL HERSL                                 *


*         *       *     *      *      *      *       *      *       *      *       *        *
EMERGENCY MOTION FOR COMPASSIONATE RELEASE PURSUANT TO 18 U.S.C.
                        §3852(c)(1)(A)(i)
          Comes Now Petitioner, Daniel Hersl, by and through undersigned counsel and hereby

respectfully moves this Court pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) for a reduction in

sentence. Mr. Hersl is 53 years old. He was recently diagnosed with metastatic prostate cancer

that has metastasized to lymph nodes, liver, both lungs, one rib and upper sacrum. As of

September 22, 2023, Dr. Scott R. Moos, Medical Officer, U.S. Medical Center for Federal

Prisoners Springfield, Missouri, concluded that Mr. Hersl’s life-expectancy is “less than 18

months (Ex.1).”

     The compassionate release statute allows courts to reduce sentences for “extraordinary and

compelling” reasons. Such reasons are present in this case. Mr. Hersl has exhausted his

administrative remedies. Mr. Hersl respectfully asks this Court to reduce his sentence of 216

months to time-served. Mr. Hersl does not object to this Court modifying his term of supervised

release to include home detention for an extended period. Mr. Hersl proposes a suitable release

plan that would allow him to receive appropriate palliative medical care while on home detention

in Baltimore, Maryland.

     I.        PROCEDURAL HISTORY
          Case 1:17-cr-00106-GLR Document 790 Filed 10/17/23 Page 2 of 6



         On February 13, 2018, a jury found Mr. Hersl guilty of RICO Conspiracy 18 U.S.C. §

1962(d); Hobbs Act Robbery 18 U.S.C. § 1951 and Not guilty of Possession of a Firearm in

Furtherance of a Crime of Violence 18 U.S.C. 924(c). On June 22, 2018, Mr. Hersl was

sentenced to a total term of imprisonment of 213 months. He has been incarcerated without any

infractions since March 1, 2017. His projected release date is July 10, 2031.

         The original prosecutors, Leo Wise and Derek Hines are not presently actively working in

Maryland’s United States Attorney’s Office. On October 11, 2023, counsel was advised that the

prosecutor presently assigned to the case, AUSA Harry Gruber would not be handling this

matter, and that Mr. Gruber was “trying to find an AUSA to take it on since Leo has departed.”

As of the filing of this motion, counselor is unaware if an AUSA has been assigned. Due to the

present medical condition of Mr. Hersl, counsel respectfully requests that the time for the

government’s response be limited to 5 days.

         REQUEST FOR COMPASSIONATE RELEASE

         Pursuant to § 3582(c)(1)(A)(i), a court is permitted to consider motions filed by the

defendant so long as “the defendant has fully exhausted all administrative rights to appeal a

failure of the Bureau of Prisons to bring a motion on the defendant’s behalf”, or after “the lapse

of 30 days from the receipt of such a request by the warden of the defendant’s facility, whichever

is earlier.” In this case, the timing provision has been satisfied. Mr. Hersl’s second compassionate

release request was submitted to the warden on August 29, 2023. Thirty days has elapsed without

a response from the warden.

   II.      MEDICAL DIAGNOSIS

         Mr. Hersl is presently housed at the U.S. Medical Center Springfield, Missouri. Attached

to this motion is the Reduction of Sentence Special Progress Note, by Medical Officer Dr. Scott
            Case 1:17-cr-00106-GLR Document 790 Filed 10/17/23 Page 3 of 6



R. Moose. This one-page report succinctly outlines Mr. Hersl’s medical treatment, present

terminal condition and recommendation that Mr Hersl, “appears eligible for compassionate

release consideration for terminal medical condition.” Prostate cancer was first suspected,

December 22, 2022, when a PSA (prostrate specific antigen) showed a progression from 8 to 25.

In February 2023 a needle biopsy was performed confirming cancer in 12 cores. August 2023 a

Pylarify PET 1 was performed concluding that that the cancer had metastasized to the “lymph

nodes, liver, both lungs, one rib and upper sacrum.” A September 2023 oncology consultation

with Dr. Tummala from Mercy Hospital Springfield Missouri concluded that cancer would

“likely be terminal” with palliative treatment for pathological bone fractures2 and pain due to

spread of cancer. Conclusion: “Current treatment is not likely curative, so treatment is palliative 3

(and marginally life-extending). Average life-expectancy is less than 18 months.”

    III.      ARGUMENT

           Section 3582(c)(1)(A), as amended by the First Step Act of 2018, vests this Court with

the authority to reduce a sentence if: (1) the defendant presents “extraordinary and compelling

reasons” warranting a sentence reduction; (2) a reduction would be consistent with “applicable

policy statements” issued by the Sentencing Commission; and (3) the § 3553(a) sentencing

factors merit a reduction. As the Fourth Circuit has held, however, there is currently no

“applicable” policy statement governing § 3582(c)(1)(A) motions filed by defendants. See

United States v. McCoy, 981 F.3d 271, 284 (4th Cir. 2020) (quoting United States v. Brooker, 976




1
  Pylarify (piflufolastat F 18) injection is a radioactive diagnostic agent indicated for position emission tomography
(PET) https://www.pylarify.com
2
  Pathologic fractures occur through areas of weakened bone attributed to either primary malignant lesions,
metastasis…with the common factor being altered skeletal biomechanics secondary to pathologic bone. National
Institute of Health https://www.ncbi.nih.gov
3
  Palliative care: Medical caregiving approach aimed at optimizing quality of life and mitigating suffering among
people with serious, complex, and often terminal illness. National Institute on Aging https://nianih.gov
         Case 1:17-cr-00106-GLR Document 790 Filed 10/17/23 Page 4 of 6



F.3d 228, 230 (2d Cir. 2020)). In the absence of an “applicable” policy statement governing

motions filed by defendants, “district courts are ‘empowered . . . to consider any extraordinary

and compelling reason for release that a defendant might raise.’” Id. (emphasis in original); see

also United States v. Long, 997 F.3d 342 (D.C. Cir. 2021); United States v. Shkambi, 993 F.3d

388 (5th Cir. 2021); United States v. Aruda, 993 F.3d 797 (9th Cir. 2021); United States v.

McGee, 992 F.3d 1035 (10th Cir. 2021); United States v. Jones, 980 F.3d 1098 (6th Cir. 2020);

United States v. Gunn, 980 F.3d 1178 (7th Cir. 2020). But see United States v. Bryant, 996 F.3d

1243 (11th Cir. 2021).

       A reduction is warranted in this case. A diagnosis of terminal cancer that has spread

throughout Mr. Hersl’s body accompanied by the high risk for pathological bone fractures and

incredible pain, coupled with present inability of the U.S. Medical Center to timely treat Mr.

Hersl represents an “extraordinary and compelling reason” for relief under the compassionate

release statute and the sentencing factors of 18 U.S.C. § 3553(a) – including Mr. Hersl’s efforts

at rehabilitation, low risk of recidivism, and lack of any infractions over seven years of

incarceration, support the reduction in his sentence.

       Equally, if not more culpable co-defendants who cooperated and did not go to trial have

already been released from the BOP or will be released within the next 10 months. Momodu

Gondo sentenced to 120 months, release date September 7, 2024. Evodio Hendrix and Maurice

Ward, both sentenced to 84 months, were released February 16, 2022. The motion should be

granted, and Mr. Hersl’s sentence should be reduced to time served to allow him to receive

proper palliative medical care prior to his death.

       Release Plan
         Case 1:17-cr-00106-GLR Document 790 Filed 10/17/23 Page 5 of 6



       If released from custody, Mr. Hersl will reside with family members, names and

addresses not included in this motion and will be given to the Court and US Probation. Family

members will work in unison to help provide food, lodging and travel for palliative treatment. In

his last month’s Mr. Hersl would be able to share in the life of his 16-year-old son, Colin Brett

Hersl. They both have maintained a strong bond by communicating by letter and mail daily since

Mr. Hersl was first incarcerated. Medical and palliative treatment would be arranged through the

University of Maryland Upper Chesapeake Hospital.

                                         CONCLUSION

       For the foregoing reasons, Petitioner Daniel Hersl respectfully requests that this Court

Order the government to respond to this motion in 5 days and grant this motion for

compassionate release and reduce his sentence to time-served so that he may receive proper

palliative treatment for his prostate cancer that has metastasized throughout his body and to

spend his remaining time with his family.

                                                      Respectfully submitted,

                                                      _____________/s/_________________


                                                      William B. Purpura
                                                      Purpura & Purpura
                                                      8 E. Mulberry Street
                                                      Baltimore, Maryland 21202
                                                      (410) 727-8550 (tel.)
                                                      (410) 215-0759 (cell)
                                                      Attorney for Petitioner




                                 CERTIFICATE OF SERVICE
         Case 1:17-cr-00106-GLR Document 790 Filed 10/17/23 Page 6 of 6



       I hereby certify that on this day, October 17, 2023, a copy of the foregoing was served on

all parties via. ECF.

                                                    ______/s/____________
                                                    William B. Purpura
